  Case 1:20-cv-04438-DLC Document 64-3 Filed 12/01/20 Page 1 of 17




                       Exhibit no. 3
Articles 13, 15, 47, 70, 71, 72, 75, 76, 79, 81, 82,
            84, 85, 150, 154, and 209
 of the Lebanese Code of Money and Credit
        Case 1:20-cv-04438-DLC Document 64-3 Filed 12/01/20 Page 2 of 17




Articles 13, 15, 47, 70, 71, 72, 75, 76, 79, 81, 82, 85, 150, 154, and 209 of the Lebanese Code
of Money and Credit

Article 13:

‘The Bank’ is a juridical person of public law vested with financial autonomy.

It is deemed as a trader in its relationships with third parties. It carries out its transactions and
organizes its accounts in conformity with commercial and banking rules and practices.

It shall not be submitted to administration and management regulations and to the supervision
applicable to Public Sector organizations, notably the provisions of Decree-Laws nos. 114,115,
117 and 118 of 12 June 1959. It shall not be subject to the requirements of the Code of
Commerce regarding registration at the Register of Commerce.

The Beirut Courts have exclusive jurisdiction to settle all disputes between the Bank and third
parties.

Article 15:

The Bank’s capital shall be constituted of an amount of LBP 15,000,000 (fifteen million
Lebanese pounds) allocated by the State.

The capital can be increased either by a new allocation by the State, authorized by law, or
through the incorporation of reserves as may be authorized by decree from the Council of
Ministers, upon the request of the Bank and the proposal of the Minister of Finance.

Article 47:

The exclusive privilege of issuing money referred to in Article 10 is vested in the Bank of
Lebanon.

Article 70:

The overall duty of the Bank shall be the safeguard of currency to secure the basis of a
permanent economic and social development. The Bank’s task includes more specifically the
following:

- safeguarding the soundness of the Lebanese currency.
- safeguarding economic stability.
- safeguarding the soundness of the banking system.
- developing the monetary and financial market.

To achieve these ends, the Bank shall exercise the powers vested in it by virtue of the present
law.
       Case 1:20-cv-04438-DLC Document 64-3 Filed 12/01/20 Page 3 of 17




Article 71:

The Central Bank shall co-operate with the Government, and advise it on matters of economic
and financial policy to secure the highest degree of co-ordination between its mission and the
Government's objectives.

Article 72:

The Bank may propose to the Government measures which it deems likely to have a favorable
impact on the balance of payments, the movement of prices, public finances and, generally
speaking, on economic development.

The Bank shall inform the Government of matters which, in its judgment, may harm the national
economy and currency. It secures the Government’s relations with international finance
institutions.

The Government shall seek the Bank's advice on matters related to currency and shall invite the
Bank's Governor to join its deliberations on such questions.

Article 75:

The Bank shall use the means that it deems capable of ensuring exchange stability, and, for such
purpose, it may operate on the market, in agreement with the Minister of Finance, either as buyer
or seller of bullion or foreign currency, with due regard to the provisions of Article 69.

The Bank's dealings in foreign exchange shall be entered in a special account called ‘Exchange
Stabilization Fund’.

Article 76:

In order to maintain harmony between banking liquidity and the volume of credits and its overall
mission defined in Article 70, the Bank is authorized to adopt all measures as it may deem
appropriate and, notably, the following steps that it may take separately, or simultaneously, or
concurrently with the measures referred to in Title III of the present law:

   a) set and amend the rates and ceilings of discount rates and other forms of credit which it is
      authorized to grant to banks and financial establishments.

   b) resort to operations designated in Article 75.

   c) buy and sell securities on the open market, in conformity with Articles 106, 107 and 108.

   d) require the banks to deposit with it assets (minimal reserves) amounting to a specific ratio
      of their liabilities arising from deposits and loans they have been granted, as may be fixed
        Case 1:20-cv-04438-DLC Document 64-3 Filed 12/01/20 Page 4 of 17




       by the ‘Bank’, excluding liabilities of the same nature towards other banks which are
       equally required to deposit such reserves.

       The Central Bank may, if it deems it appropriate, consider banks' investments in
       Government Bonds or in Bonds issued with the Government’s guarantee as part of the
       reserves up to a specific ratio to be determined by the Bank.

       The Central Bank ratio of minimal reserves shall not be in excess of 25 per cent of the
       liabilities at call or over 15 per cent of the liabilities having a fixed term.

       The Central Bank shall enforce various ratios on the different categories of banks
       liabilities within the limits set in the preceding paragraph.

       In exceptional cases, it may also impose special limit ratios without complying with the
       aforementioned limits for excess liabilities or for some of them, for a fixed limit, or on
       the excess in these liabilities, or some of them after a fixed date.

   e) require the banks to deposit with it assets (special minimal reserves) amounting to a
      specific ratio of assets as may be fixed by the Bank.

   f) accept, in the light of the general monetary situation, deposits bearing interests as may be
      fixed by the Bank.

Article 79:

The Central Bank may also exercise an influence over the general credit situation by limiting the
volume of credit in specific categories or granted for specific purposes or to specific sectors, and
lay down conditions to govern such credit.

Article 81:

The Bank is authorized to:

   1- Buy and sell, import and export gold and other precious metals and transact all other
      operations on such commodities.

   2- Accept deposits of coined gold or gold ingots, and issue in favor of depositors, upon their
      request, certificates of gold deposit in the form of Bonds ‘to Bearer’ or ‘to Order’.

   3- Discount, rediscount, buy and sell trade bills, and instruments of payment, and assets at
      call, drawn up in foreign currencies. The maturity of bills shall not exceed six months.

   4- Buy and sell loan bonds issued or guaranteed by foreign Governments or international
      institutions, drawn up in foreign currencies and readily marketable.

   5- Hold accounts with central banks or with correspondents abroad.
       Case 1:20-cv-04438-DLC Document 64-3 Filed 12/01/20 Page 5 of 17




   6- Open accounts to central banks, foreign banks, and international institutions, and operate
      as correspondent for such banks and institutions.

   7- Lend to and borrow from central banks, foreign financial institutions and banks, and
      international financial institutions, provided that such transactions be short term
      transactions and within the framework of the Central Bank's functions.

Article 82:

The Bank is not entitled to perform the transactions authorized under the preceding article,
except with and for the account of the following entities:

   a) The Public Sector.

   b) Banks and financial institutions domiciled in Lebanon.

   c) Central banks, banks, and financial institutions abroad.

   d) International financial institutions.

Article 84:

The Public Sector in the context of this law includes the State, municipalities, and public law
juristic persons provided for in Article 2 of Decree-Law no. 117 dated 12 June 1959.

Article 85:

The Bank operates as banker to the Public Sector. In this capacity:

   a) It is the only depository of Public Sector funds.

   b) It effects such payments as may be ordered by the Public Sector, up to the value of the
      latter's assets with it.

   c) It transfers funds on the request of the Public Sector up to the value of the latter's assets
      with it.

   d) It ensures the safe keeping, and if need be the management, of securities which it is
      entrusted with by the Public Sector and, generally speaking, renders all banking services
      to such Sector.

   e) Finally, it may grant credits to the Public Sector, in the cases listed in Articles 88, 91, and
      92.
        Case 1:20-cv-04438-DLC Document 64-3 Filed 12/01/20 Page 6 of 17




Article 150:

In no case can the auditors of the Central Bank require bank managers to reveal the names of
their clients, except for holders of debtor accounts. They cannot apply to any other person except
to the bank’s manager in charge.

Banks are authorized to organize their accounts in such a manner that the names of the clients are
not shown, except for holders of debtor accounts.

Central Bank auditors are strictly prohibited, in the exercise of their supervision, to enquire about
any tax matters, to interfere in them, or to report them to whomsoever.

Article 154:

Contrary to paragraph 2 of Article 152, and Article 153, banks may acquire partnership shares,
participation shares, or real estate, in excess of the authorized margin, if such acquisition is
effected in recovery of outstanding debts or doubtful debts. The banks must, however, liquidate
such assets within a maximum time-limit of two years. If they have not been able to comply with
such time limit for circumstances beyond their control, the matter must be referred to the Central
Bank.

Temporary ownership of real estate in conformity with the preceding paragraph shall be
exempted from the permit referred to in the law governing ownership by foreigners, but shall
remain subject to an authorization granted by the Banks Control Commission after having
ascertained that the purchase has been actually made in settlement of an outstanding debt, or a
doubtful debt.

Article 209:

Sanctions provided by the preceding article are decided by the Higher Banking Commission
created by Article 10 of Law No. 28/67 of 9 May 1967.

Decisions of the Higher Banking Commission are not open to any legal remedies whether
ordinary or extraordinary, administrative or judicial.
Case 1:20-cv-04438-DLC Document 64-3 Filed 12/01/20 Page 7 of 17
Case 1:20-cv-04438-DLC Document 64-3 Filed 12/01/20 Page 8 of 17
Case 1:20-cv-04438-DLC Document 64-3 Filed 12/01/20 Page 9 of 17
Case 1:20-cv-04438-DLC Document 64-3 Filed 12/01/20 Page 10 of 17
Case 1:20-cv-04438-DLC Document 64-3 Filed 12/01/20 Page 11 of 17
Case 1:20-cv-04438-DLC Document 64-3 Filed 12/01/20 Page 12 of 17
Case 1:20-cv-04438-DLC Document 64-3 Filed 12/01/20 Page 13 of 17
Case 1:20-cv-04438-DLC Document 64-3 Filed 12/01/20 Page 14 of 17
Case 1:20-cv-04438-DLC Document 64-3 Filed 12/01/20 Page 15 of 17
Case 1:20-cv-04438-DLC Document 64-3 Filed 12/01/20 Page 16 of 17
Case 1:20-cv-04438-DLC Document 64-3 Filed 12/01/20 Page 17 of 17
